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                         EXHIBIT B
     Case 2:19-cv-10071-VAP-RAO Document 21-2 Filed 04/15/20 Page 2 of 2 Page ID #:107
                                                             Declaration of Diligence

 Case:                             Court:                                County:                                             Job:
 2:19-cv-10071-VAP-RAO             United States District Court          Central District of California, Western Division,   4353130 (6525-
                                                                         CA                                                  01)
 Plaintiff / Petitioner:                                                 Defendant / Respondent:
 Tracy Eggleston, et al.                                                 Direct Protect Security & Surveillance, Inc.
 Received by:                                                            For:
 Inservio3                                                               Woodrow & Peluso LLC
 To be served upon:
 Direct Protect Security & Surveillance, Inc.

I, Ron Lucero, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name / Address:     Direct Protect Security & Surveillance, Inc., 222 20th Street, Huntington Beach, CA 92648
Manner of Service:            Bad Address
Documents:                    Summons in a Civil Action; Civil Cover Sheet; Class Action Complaint; Notice of Errata to Plaintiff Tracy
                              Eggleston's Class Action Complaint; Certification and Notice of Interested Parties; Notice of Assignment to
                              United States Judges; Standing Order; Notice to Parties of Court-Directed ADR Program (Received Feb 26, 2020
                              at 3:43pm PST)
Witness fees were offered
or demanded and paid:

Additional Comments:
1) Unsuccessful Attempt: Mar 2, 2020, 11:03 am PST at 222 20th Street, Huntington Beach, CA 92648
Talked to the couple that lives there and they said he lived there before them but that was 3 years ago, and that ever since they moved in
people have been coming by looking for him.

Person serving:
a.   Not a registered California process server.
b.    California sheriff or marshal.
c. X Registered California process server.
d.    Employee or independent contractor of a registered California process server.
e.    Exempt from registration under Business and Professions Code section 22350(b).
f.    Registered professional photocopier.
g.    Exempt from registration under Business and Professions Code section 22451.
h.Name, address, telephone number, and, if applicable, county of registration and number:
  Ron Lucero
  6069
  Inservio3
  18013 Sky Park Circle, Suite C
  Irvine CA 92614
  (949) 777-5496



                                                03/13/2020
Ron Lucero                                      Date
6069
